 OAO 435              Case 2:24-cv-01123-SPL               Document
                                Administrative Office of the                26
                                                             United States Courts             Filed 07/17/24 Page
                                                                                                               FOR 1 of 2 USE ONLY
                                                                                                                   COURT
 AZ Form (Rev. 10/2023)                                                                                             DUE DATE:
                                      TRANSCRIPT ORDER

1. NAME                                                                             2. PHONE NUMBER                 3. DATE
           Peter Arhangelsky                                                          602.445.8017                             07/17/2024
4. FIRM NAME
                    Greenberg Traurig, LLP
5. MAILING ADDRESS                                                                  6. CITY                         7. STATE         8. ZIP CODE
                         2375 E. Camelback Rd., Suite 800                                     Phoenix                 AZ                 85016
9. CASE NUMBER                           10. JUDGE                                                    DATES OF PROCEEDINGS
    2:24-cv-01123                                    Logan                          11. 07/16/2024              12.
13. CASE NAME                                                                                        LOCATION OF PROCEEDINGS
    Stenson Tamaddon, LLC v. U.S. Internal Revenue Service                          14. CITY Phoenix            15. STATE AZ
16. ORDER FOR
9 APPEAL                                 9 CRIMINAL                                 9 CRIMINAL JUSTICE ACT             BANKRUPTCY
9 NON-APPEAL                             ✔
                                         9 CIVIL                                    9 IN FORMA PAUPERIS                OTHER (Specify)

17. TRANSCRIPT REQUESTED (Specify portion(s) and date(s) of proceeding(s) for which transcript is requested.)

                   PORTIONS                                DATE(S)                              PORTION(S)                        DATE(S)
  9VOIR DIRE                                                                         9TESTIMONY (Specify)
  9OPENING STATEMENT (Plaintiff)
  9OPENING STATEMENT (Defendant)
  9CLOSING ARGUMENT (Plaintiff)                                                     ✔9PRE-TRIAL PROCEEDING                      07/16/2024
  9CLOSING ARGUMENT (Defendant)                                                        (Motion Hearing)
  9OPINION OF COURT
  9JURY INSTRUCTIONS                                                                 9OTHER (Specify)
  9SENTENCING
  9BAIL HEARING
18. ORDER
                         ORIGINAL + 1            FIRST            # OF               DELIVERY INSTRUCTIONS
  CATEGORY              (original to Court,                    ADDITIONAL                                                     ESTIMATED COSTS
                                                 COPY                                   (Check all that apply.)
                      copy to ordering party)                    COPIES
30-Day (Ordinary)               9                    9                                   PAPER COPY
14-Day Transcript               9                    9
7-Day (Expedited)               9                    9                               ✔   PDF (e-mail)
3 -Day Transcript               ✔                    ✔
                                9                    9
Next-Day (Daily)
                                9                    9                                   ASCII (e-mail)
2-Hour (Hourly)
                                9                    9
Realtime Transcript                                                                 E-MAIL ADDRESS
                                                                                     peter.arhangelsky@gtlaw.com; jill.harvison3@gmail.com
CERTIFICATION (19. & 20.) By signing below, I certify that I will pay all charges
                        (deposit plus additional).
                                                                                    NOTE: IF ORDERING MORE THAN ONE FORMAT,
19. SIGNATURE /s/ Peter A. Arhangelsky                                              THERE WILL BE AN ADDITIONAL CHARGE.
20. DATE 07/17/2024
TRANSCRIPT TO BE PREPARED BY
                                                                                    ESTIMATE TOTAL

                                                                                    PROCESSED BY                        PHONE NUMBER
ORDER RECEIVED                                   DATE                BY

DEPOSIT PAID                                                                        DEPOSIT PAID

TRANSCRIPT ORDERED                                                                  TOTAL CHARGES

TRANSCRIPT RECEIVED                                                                 LESS DEPOSIT
ORDERING PARTY NOTIFIED
                                                                                    TOTAL REFUNDED
TO PICK UP TRANSCRIPT

PARTY RECEIVED TRANSCRIPT                                                           TOTAL DUE


                      DISTRIBUTION:             COURT COPY           TRANSCRIPTION COPY             ORDER RECEIPT     ORDER COPY
                 Case 2:24-cv-01123-SPL
AO 435 INSTRUCTIONS                                             Document 26 Filed 07/17/24 Page 2 of 2
Use. Use this form to order transcript of proceedings. Complete a separate order form for each case number for which transcript is ordered.

Completion. Complete Items 1-20. Do not complete shaded areas which are reserved for the court’s use.

Order Copy. Keep a copy for your records.

Filing with the Court. Parties to the case (and attorneys admitted to practice in our Court) must electronically file the original in the ECF
system. Non-parties and pro se litigants should deliver a copy to the Office of the Clerk of Court or email a copy to the following email address:
       Phoenix: phxao435transcriptorders@azd.uscourts.gov                  Tucson: tucao435transcriptorders@azd.uscourts.gov

Deposit Fee. The court will notify you of the amount of the required deposit fee which may be mailed or delivered to the court. Upon receipt of
the deposit, the court will process the order.

Delivery Time. Delivery time is computed from the date of receipt of the deposit fee or for transcripts ordered by the federal government from
the date of receipt of the signed order form.

Completion of Order. The court will notify you when the transcript is completed.

Balance Due. If the deposit fee was insufficient to cover all charges, the court will notify you of the balance due which must be paid prior to
receiving the completed order.

Items 1-20.        These items should always be completed.

Item 9.            Only one case number may be listed per order.

Item 16.           Place an “X” in each box that applies.

Item 17.           Place an “X” in the box for each portion requested. List specific date(s) of the proceedings for which transcript is requested.
                   Be sure that the description is clearly written to facilitate processing. Orders may be placed for as few pages of transcript as
                   are needed.

Item 18.           Categories. There are seven (7) categories for ordering transcripts. Orders are considered received upon receipt of the deposit:

                             30-Day Transcript (Ordinary). A transcript to be delivered within thirty (30) calendar days after receipt of an order.

                             14-Day Transcript. A transcript to be delivered within fourteen (14) calendar days after receipt of an order.

                             3-Day Transcript. A transcript to be delivered within three (3) calendar days from receipt of an order.

                             7-Day Transcript (Expedited). A transcript to be delivered within seven (7) calendar days after receipt of an order.

                             Next-Day Transcript (Daily). A transcript to be delivered on the calendar day following receipt of the order
                             (regardless of whether that calendar day is a weekend or holiday) prior to the normal opening hour of the Clerk’s Office.

                             2-Hour Transcript (Hourly). A transcript of proceedings to be delivered within two (2) hours from receipt of the order.

                             Realtime Transcript. A draft unedited transcript produced by a certified realtime reporter as a by-product of
                             realtime to be delivered electronically during proceedings or immediately following adjournment.

NOTE: Full price may be charged only if the transcript is delivered within the required time frame. For example, if an order for expedited
transcript is not completed and delivered within seven (7) calendar days, payment would be at the 14-day delivery rate, and if not completed and
delivered within 14 calendar days, payment would be at the ordinary delivery rate.

Ordering. Place an “X” in each box that applies. Indicate the number of additional copies ordered.

                             Original. Original typing of the transcript. An original must be ordered and prepared prior to the availability of
                             copies. The original fee is charged only once. The fee for the original includes the free copy for the court.

                             First Copy. First copy of the transcript after the original has been prepared. All parties ordering copies must pay this
                             rate for the first copy ordered.

                             Additional Copies. All other copies of the transcript ordered by the same party.

                             Delivery Instructions. Place an "X" in each box that applies. If ordering both paper and electronic copies, there will
                             be an additional copy charge. Provide e-mail address where electronic e-mail copy should be sent.

Item 19.           Sign in this space to certify that you will pay all charges. (This includes the deposit plus any additional charges.)

Item 20.           Enter the date of signing.

Shaded Area.       Reserved for the court’s use.
